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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

                                                                 20-cr-106 DWF/BRT
UNITED STATES OF AMERICA,                        )
               Plaintiff,                        )
                                                 )     INDICTMENT
              v.                                 )
                                                 )     18 U.S.C. § 2
                                                 )     18 U.S.C. § 924(c)(1)(A)
(1) LAMOND LEROY MCCABE,                         )     18 U.S.C. § 924(d)(1)
   a/k/a “Pimp,”                                 )     21 U.S.C. § 841(a)(1)
                                                 )     21 U.S.C. § 841(b)(1)(A)
                                                       21 U.S.C. § 846
                                                 )     21 U.S.C. § 853
                                                 )     28 U.S.C. § 2461(c)
                     Defendants.                 )

THE UNITED STATES GRAND JURY CHARGES THAT:


                                      COUNT 1
                   (Conspiracy To Distribute Controlled Substances)

      In or around March 2020, in the State and District of Minnesota, the defendants,

                            LAMOND LEROY MCCABE,
                                a/k/a “Pimp,” and



did knowingly and intentionally conspire together and with others to distribute controlled

substances, specifically 5 kilograms or more of a mixture and substance containing a

detectable amount of cocaine, and 280 grams or more of a mixture and substance

containing a detectable amount of cocaine base, all in violation of Title 21, United States

Code, Sections 841(a)(1), 841(b)(1)(A) and 846.
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                                        COUNT 2
               (Possession With Intent To Distribute Controlled Substances)

        On or about March 25, 2020, in the State and District of Minnesota, the defendants,

                             LAMOND LEROY MCCABE,
                                 a/k/a “Pimp,” and



aiding and abetting each other, did knowingly and intentionally possess with intent to

distribute controlled substances, specifically 5 kilograms or more of a mixture and

substance containing a detectable amount of cocaine, and 280 grams or more of a mixture

and substance containing a detectable amount of cocaine base, all in violation of Title 21,

United States Code, Sections 841(a)(1) and 841(b)(1)(A), and Title 18, United States Code,

Section 2.

                                       COUNT 3
          (Possession of Firearms In Furtherance of Drug Trafficking Crimes)

        On or about March 25, 2020, in the State and District of Minnesota, the defendants,

                             LAMOND LEROY MCCABE,
                                 a/k/a “Pimp,” and



aiding and abetting each other, did knowingly and intentionally, and in furtherance of a

drug trafficking crime for which they may be prosecuted in a court of the United States,

namely, conspiracy to distribute controlled substances and possession with intent to

distribute controlled substances as charged in Counts 1 and 2 of this Indictment, did possess

firearms, namely a Colt MK-IV series 80 semi-automatic pistol (serial number SS06032),



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and a Kimber 9 millimeter Solo Carry STS semi-automatic pistol (serial number

S1111058), all in violation of Title 18, United States Code, Section 924(c)(1)(A), and Title

18, United States Code, Section 2.

                            FORFEITURE ALLEGATIONS

        Counts 1-3 of this Indictment are hereby realleged and incorporated as if fully set

forth herein by reference, for the purpose of alleging forfeitures.

        If convicted of the offense alleged in Count 1 and/or Count 2 of this Indictment, the

defendants shall forfeit to the United States pursuant to Title 21, United States Code,

Section 853(a)(1) and (2), any and all property constituting, or derived from, any proceeds

the defendants obtained directly or indirectly as a result of said violations, and any and all

property used, or intended to be used, in any manner or part to commit or to facilitate the

commission of said violations, including but not limited to the following property seized

on or about March 25, 2020: approximately $9,250 in cash seized from defendant

MCCABE’s person;

        ; and approximately $2,190 in cash seized from defendant MCCABE’s residence in

Monticello, Minnesota.

        If convicted of any of the offense alleged in Counts 1-3 of this Indictment, the

defendants shall forfeit to the United States any firearms, accessories and ammunition

involved in or used in connection with the violation including but not limited to a Colt MK-

IV series 80 semi-automatic pistol (serial number SS06032), and a Kimber 9 millimeter

Solo Carry STS semi-automatic pistol (serial number S1111058), pursuant to Title 18,



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United States Code, Section 924(d)(1), and Title 28, United States Code, Section 2461(c).

        If any of the above-described forfeitable property is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute property as provided for in Title

21, United States Code, Section 853(p).


                                       A TRUE BILL


___________________________________               ______________________________
UNITED STATES ATTORNEY                            FOREPERSON




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